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     QUINTIN JEUH CARLOS-BANUELOS
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6
7                             IN THE UNITED STATES DISTRICT COURT
8                          FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                    Case No. 1:20-CR-00175-DAD-BAM
11                    Plaintiff,
                                                  STIPULATION MODIFYING CONDITIONS
12          vs.                                   OF RELEASE; ORDER
13   QUINTIN JEUH CARLOS-
     BANUELOS, ET AL.,                            JUDGE: Hon. ERICA P. GROSJEAN
14                                                       United States Magistrate Judge
                       Defendants
15
16         IT IS HEREBY STIPULATED by the parties through their respective counsel
17 KATHLEEN A. SERVATIUS, Assistant United States Attorney for plaintiff United States of
18 America and VICTOR M. CHAVEZ, attorney for defendant Quintin Jeuh Carlos-Banuelos that
19 the conditions of release set by the court in the Northern District of California on October 8, 2020
20 in case no. 5:20-mj-71403-MAG, Doc. 6, may be modified to allow Mr. Carlos-Banuelos to
21 relocate his residence from East Palo Alto, California to Portland, Oregon. Defendant and his third
22 party custodian, his girlfriend, Aida Millan Cervantes are currently living with her parents.
23 Defendant wishes to relocate to Portland, Oregon where he and his third party custodian would
24 live with defendant’s brother, Fernando Carlos-Banuelos and his wife Patricia Carlos. Ms. Carlos
25 is a surety on defendant’s appearance bond. Moving to Portland would afford defendant a better
26 living situation and the support of his brother and sister in law which would include opportunity
27 for employment. Pretrial Services Officer Elba Romero who has been supervising defendant in the
28 Northern District supports defendant’s relocation to Portland, Oregon. This case was recently
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1    assigned to a Pretrial Officer in this district, Melissa Haberer from Sacramento Pretrial

2    Services. On November 17, 2020 she indicated that she had no position relative to the modification

3    being sought. The parties stipulate to the following modifications of defendant’s conditions of

4    release:

5            (1) Defendant shall reside at the home of Fernando Carlos-Banuelos and his wife Patricia

6                 Carlos in Portland, Oregon. Mr. Carlos is defendant’s brother and defendant’s sister in

7                 law, Patricia Carlos is also a surety on defendant’s appearance bond. Defendant shall

8                 not relocate to Oregon until advised by his current Pretrial Services Officer, Elba

9                 Romero, that supervision has been established in Portland, Oregon and that he may

10                move;

11           (2) Defendant shall remain in the third party custody of Aida Millan Cervantes at the

12                residence in Portland, Oregon, as they will reside together at the approved address;

13           (3) Defendant shall reside at the approved address in Portland, Oregon and shall limit his

14                travel to the District of Oregon except for travel to the Northern District of California

15                and the Eastern District of California which shall require prior approval by his Pretrial

16                Services Officer.

17                All other conditions of release previously imposed shall remain in full force and effect.

18                IT IS SO STIPULATED.

19
20                                                      Respectfully submitted,

21 Dated: November 11, 2020                             /s/ Victor M. Chavez
                                                        VICTOR M. CHAVEZ
22                                                      Attorney for Defendant

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24 Dated: November 11, 2020                             /s/ Kathleen A. Servatius___________
                                                        KATHLEEN A. SERVATIUS
25                                                      Assistant U.S. Attorney for Plaintiff
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     Carlos-Banuelos – Stipulation and Proposed Order
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1                                                       ORDER

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3            The Court having considered the stipulation of the parties hereby approves the stipulation

4    and modifies the conditions of release as follows: (1) defendant may relocate to Portland, Oregon

5    and reside at the home of Fernando Carlos-Banuelos and his wife Patricia Carlos. Defendant shall

6    not move to Oregon until Pretrial Services authorizes him to travel; (2) Defendant shall remain in

7    the third party custody of Aida Millan Cervantes and shall reside with her at the approved address

8    in Portland, Oregon; (3) Defendant shall limit his travel to the District of Oregon except for travel

9    to the Northern and Eastern Districts of California which shall require prior approval by his

10 Pretrial Services Officer. All other conditions of release previously imposed shall remain in full
11 force and effect.
12
     IT IS SO ORDERED.
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14       Dated:     November 18, 2020                            /s/
                                                             UNITED STATES MAGISTRATE JUDGE
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     Carlos-Banuelos – Stipulation and Proposed Order
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